                   Case 4:19-mj-71192-MRGD Document 4 Filed 08/07/19 Page 1 of 1
                                          United States District Court
                                         NORTHERN DISTRICT OF CALIFORNXA
                                               OAKLAND DIVISION


                                                             CaseNo,
       United States of America,
                                                                                                            "m-!,
                        Plaintiffs                           STIPULATED ORDER EXCLUDING TIME
                   V.                                        UNDER THE SPEEDY TRIAL ACT

                                          iK

       w                Defendant(s).

For the reasons stated by the parties on the record on                   the court excludes time under the Speedy
Trial Act from       1-^           to '^KfD                  and fmds that the ends ofjustice served by the
continuance outweigh the best interest m the public and the defendant in a speedy trial. See 18 U.S.C. §
3161(h)(7)(A). The court makes this finding and bases this continuance on the following factor(s):
               Failure to grant a continuance would be likely to result in a miscarriage ofjustice.
                   18 U.S.C. § 3161(h)(7)(B)(i).

               The case is so unusual or so complex, due to [check applicable reasons]          the number of
               defendants,          the nature of the prosecution, or      the existence of novel questions offact
               or law, that it is unreasonable to expect adequate preparation for pretrial proceedings or the trial
               itself within the time limits established by tMs section. See 18U.S.C. § 3161(h)(7)(B)(ii).

            ^[/f Failure to grant a continuance would deny the defendant reasonable time to obtain counsel,
               taking into accountthe exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

               Failure to grant a continuance would unreasonably deny the defendant continuity of counsel, given
               counsel's other scheduled case commitments, taking into account the exercise of due diligence.
               See 18 U.S.C. § 3161(h)(7)(B)(iv).

               Failure to grant a continuance would unreasonably deny the defendant the reasonable time
               necessary for effective preparation, taking into account the exercise of due dihgence.
               See 18 U.S.C. § 3161(h)(7)(B)(iv).

               With the consent ofthe defendant, and taking into account the public interest in the prompt
               disposition of criminal cases, the court sets the preliminary hearing to the date set forth in the first
               paragraph and — based on the parties' showing of good cause — finds good cause for extending
               the time limits for a preliminary hearing under Federal Rule of Criminal Procedure 5.1 and for
               extending the 30-day time period for an indictment under the Speedy Trial Act(based on the
               exclusions set forth above). See Fed. R. Crim. P. 5.1; 18 U.S.C. § 3161(b).

        IT IS SO ORDEiyED.
        DATED: <?/? //^
                                                              United States ^^istrate Jptse
                                                                )ONNA M. RYU




        STIPULATED:
                                     for Defendant            As^^laifTJ              s Attorne



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